                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

United States of America,                       )
                                                )
       Plaintiff,                               )
                                                )
       v.                                       )        No. 10-00174-01-CR-W-DGK
                                                )
Rodney J. Anderson,                             )
                                                )
       Defendant.                               )

                                          ORDER

       Pending before the Court are Defendant’s Motion to Dismiss Count One of the

Indictment with Prejudice as It Violates Defendant’s Sixth Amendment Right to Jury Unanimity

(Doc. 19), the Government’s response (Doc. 25), United States Magistrate Judge Sarah W. Hays

Report and Recommendation recommending that the motion be denied (Doc. 29), the

Defendant’s Objections to the Report and Recommendation (Doc. 30) and the Government’s

Response to Defendant’s Objections (Doc. 31).

       After carefully reviewing the Magistrate’s report and conducting an independent review

of the record and applicable law, it is hereby ORDERED that Magistrate Judge Hays’ Report and

Recommendation be ADOPTED. Defendant’s Motion to Dismiss Count One of the Indictment

with Prejudice as it Violates Defendant’s Sixth Amendment Right to Jury Unanimity (Doc. 19) is

hereby DENIED.

       IT IS SO ORDERED

Date: April 19, 2011                            /s/ Greg Kays
                                                GREG KAYS, JUDGE
                                                UNITED STATES DISTRICT COURT




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